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                      IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
_________________________________________
                                          )
TRUSTEES OF BOSTON UNIVERSITY,            )  Consolidated Civil Action No.
      Plaintiff,                          )  12-cv-11935-PBS
v.                                        )
                                          )
EVERLIGHT ELECTRONICS CO., LTD.,          )
ET AL.,                                   )
      Defendants.                         )
_________________________________________ )
                                          )
TRUSTEES OF BOSTON UNIVERSITY,            )  Civil Action No. 12-cv-12326-PBS
      Plaintiff,                          )
v.                                        )
                                          )
EPISTAR CORPORATION, ET AL.,              )
      Defendants.                         )
_________________________________________ )
                                          )
TRUSTEES OF BOSTON UNIVERSITY,            )  Civil Action No. 12-cv-12330-PBS
      Plaintiff,                          )
v.                                        )
                                          )
LITE-ON INC., ET AL.,                     )
      Defendants.                         )
_________________________________________ )
                                          )
TRUSTEES OF BOSTON UNIVERSITY,            )  Civil Action No. 13-cv-11097-PBS
      Plaintiff,                          )
vs.                                       )
                                          )
AMAZON.COM, INC.,                         )
                                          )
      Defendant,                          )
_________________________________________ )
                                          )
TRUSTEES OF BOSTON UNIVERSITY,            )  Civil Action No. 13-cv-11575-PBS
      Plaintiff,                          )
v.                                        )
                                          )
APPLE, INC.                               )
      Defendant.                          )
                                          )
_________________________________________ )
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TRUSTEES OF BOSTON UNIVERSITY,             )   Civil Action No. 13-cv-10659-PBS
    Plaintiff,                             )
v.                                         )
                                           )
SAMSUNG ELECTRONICS CO., LTD.,             )
SAMSUNG ELECTRONICS AMERICA, INC., )
SAMSUNG LED CO., LTD.,                     )
SAMSUNG LED AMERICA, INC.,                 )
SAMSUNG ELECTRO-MECHANICS CO.,             )
LTD., and SAMSUNG ELECTRO-MECHANICS )
AMERICA, INC.,                             )
      Defendants.                          )
__________________________________________ )
                                           )
TRUSTEES OF BOSTON UNIVERSITY,             )   Civil Action No. 12-cv-11938-PBS
      Plaintiff,                           )
vs.                                        )
                                           )
SEOUL SEMICONDUCTOR CO., LTD.,             )
SEOUL SEMICONDUCTOR, INC., and             )
SEOUL OPTODEVICE CO., LTD.                 )
      Defendants.                          )
_________________________________________ )
                                           )
TRUSTEES OF BOSTON UNIVERSITY,             )   Civil Action No. 13-cv-11105-PBS
      Plaintiff,                           )
vs.                                        )
                                           )
ARROW ELECTRONICS, INC.,                   )
COMPONENTSMAX, INC.,                       )
NRC ELECTRONICS, INC.,                     )
NU HORIZONS ELECTRONICS CORP.,             )
      Defendants                           )
___________________________________________)


                  PLAINTIFF’S MOTION FOR ENTRY OF ITS
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       On August 16, 2013, the parties filed a Global Joint Statement regarding discovery and

scheduling issues. See, e.g., Case No. 1:12-cv-11935 at [Dkt. 142]. The parties agreed to submit

a Global Protective Order “to the Court, on or before September 6, 2013, for consideration and

entry consistent with its prior ruling in civil action number 12-cv-11935.” Id. at p. 29 (emphasis

added). As a result, Trustees of Boston University (“Boston University”) filed a Global

Protective Order that sets forth the parties’ agreements and respective positions regarding

disputed points. [Dkt. No. 147]. Boston University now files this motion in support of its

positions per the agreed deadline.1 Several reasons exist to adopt Boston University’s form of

the Protective Order:

       First, Defendants2 ignore the law of the case, attempt to avoid their agreement to submit

an order “consistent with” the Court’s prior rulings, and seek to re-litigate the imposition of a

prosecution bar. This Court previously held that outside counsel, Shore Chan DePumpo LLP, for

Boston University are not competitive decision-makers. Case No. 1:12-cv-11935 [Dkt. No. 110].

Defendants cannot produce any evidence to refute the Court’s prior holding. Id. (“To satisfy its

burden, the party seeking a patent prosecution bar must present facts sufficient to show that

counsel at issue are involved in ‘competitive decisionmaking.’”). Defendants, instead, ask the

Court to speculate that Plaintiff’s counsel might take actions in contempt of the protective order

and which violate the ethical obligations imposed upon officers of the Court. There is no reason

to presume such misconduct.3 Such onerous provisions may only be considered if there is



1
  Defendants refused to file any statement of positions today as agreed.
2
  “Defendants” refers to all above-captioned defendants.
3
  In re Sibia Neurosciences, Inc., No. 525, 1997 WL 6881741997 WL 688174, at *3 (Fed. Cir.
1997) (An acquisition or prosecution bar cannot “rest on a general assumption that one group of
lawyers are more or less likely inadvertently to breach their duty under a protective order.”).



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proof—on a counsel-by-counsel basis—that outside counsel are actively involved in competitive

decision-making. As this Court previously found, no such proof exists.

       Second, Defendants attempt to bar Boston University from employing any outside

consultants in this case. Defendants first define “Outside Consultant” as excluding anyone who

within the last three years was or is an employee or consultant for any party or competitor of

any opposing party. This definition would literally cover every person with any current

experience in the LED industry.

       With respect to former employees, their duties to the Defendants are the subject of their

employment agreements. This Court should not rewrite those employment agreements to

effectively bar former employees from “competing” against their former employers by

consulting for Boston University. The Defendants should not be allowed to re-write in a

protective order the employment contracts of former employees to add a covenant not to compete

for which the employees were not compensated and which they cannot negotiate. A protective

order is not the place to define relationships between Defendants and their former employees.

The same is true for former consultants. What those consultants can and cannot do should be

defined by their consulting agreements, not a protective order that is ex parte as to the

consultants, and which would fundamentally change the bargain struck between the Defendants

and their past consultants.

       The Defendants refuse to permit Boston University to use its professors, including the

inventor at issue, by excluding any “employees … for any party” from the definition of “Outside

Consultant.” This leaves Boston University in the position of not possessing the ability to hire

any consultants or experts who have worked in the industry for at least three years, or who have

consulted for the industry in the last three years. This would bar Boston University professors



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and their colleagues who have consulted for either a Defendant or a competitor in the industry,

even if their consulting agreements include no such prohibition.

       If Defendants’ attempt to prevent Boston University from utilizing any experts through

its definition fails, Defendants seek the right to prevent any qualified expert for receiving any

confidential information based upon “another objectively reasonable concern”, which is

undefined. There are no “objectively reasonable concern[s]”; this procedure is simply meant to

stymie Boston University’s utilization of expert witnesses and consultants and delay their work.

       Third, Defendants seek to further delay discovery by including a provision stating this

Protective Order “does not govern the production of source code” and that “[s]ource code will

not be produced … until the Proposed Addendum to the Protective Order concerning the

production of source code is entered by the Court.” See Global Stipulated Protective Order at ¶

30(e). The only purpose for this provision is delay. Defendants have not defined the term

“source code” nor have they identified what source code documents they anticipate producing.

This is not a software case in which source code in the traditional sense will be required to be

produced. But technical information related to the way that Defendants’ LEDs are manufactured

is highly relevant and is required to be produced. Defendants will rely on this provision and the

undefined term “source code” to withhold all relevant technical documents because Defendants

believe those documents should be subject to “source code” level protection.

       Fourth, Defendants seek to remove the ability to utilize mock jurors. While seemingly

agreeing that mock jurors can be used, Defendants refuse to permit mock jurors to “receive” any

designated material. This would render any mock trial meaningless. They cannot judge a case

without receiving evidence. Any mock jurors must sign the Protective Order, and will respect

this Court’s power or be subject to contempt.



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        Therefore, Boston University respectfully requests that the Court adopt its proposed

Global Stipulated Protective Order provisions.

                                           I. ARGUMENT

A.      Defendants’ proposed prosecution and acquisition bars are legally unjustifiable
        because Boston University’s outside counsel are not competitive decision-makers.

        This issue arises from Defendants’ proposal to delete a paragraph that would expressly

allow Boston University’s outside counsel to participate in the inter partes review proceedings of

the patents-in-suit and Defendants’ proposed acquisition bar, as shown below:

       Boston University’s Proposal                              Defendants’ Proposal
Pursuant to the Court’s July 19, 2013 ruling on     Plaintiff’s Retained Outside Counsel of Record

this issue, this Protective Order does not affect   and Outside Consultants may not advise any

the right of Plaintiff or Plaintiff’s counsel to    clients or otherwise participate in the

participate in any Inter Partes Review, Ex          acquisition of patents involving GaN light-

Parte Review, reexamination, or opposition of       emitting diodes or GaN laser diode

the patents-in-suit or of any other patent that     semiconductor devices for the purpose of

has a common priority claim with the patents-       asserting them against any of the Defendants

in-suit, that claims priority to (directly or       for two years after the conclusion of the

indirectly) to the patents-in-suit, or that is      Litigation, including any appeals.

otherwise related to the patents-in-suit before

any foreign or domestic agency, including the

United States Patent and Trademark Office.

Global Stipulated Protective Order at ¶ 16.

        But under binding Federal Circuit precedent, Defendants must produce evidence

sufficient to prove that Boston University’s outside counsel, Shore Chan DePumpo LLP, are


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competitive decision-makers before the Court may even consider whether a prosecution or

acquisition bar is warranted.4 The competitive decision-maker showing must be made “by the

facts on a counsel-by-counsel basis.”5 Neither a prosecution nor acquisition bar can rest simply

on “a general assumption that one group of lawyers are more likely or less likely inadvertently to

breach their duty under a protective order.”6 The competitive decision-maker issue was resolved

when Magistrate Judge Boal expressly ruled against the imposition of a prosecution bar:

               Here, Defendants argue that BU’s litigation counsel should be
               precluded from participating in pending inter partes review
               proceeding before the PTO but have not provided specific
               evidence on a counsel-by-counsel basis. Instead, at oral argument,
               Defendants pointed to a sentence in the affidavit of Michael Shore,
               counsel for BU, that states as follows: “Boston University has
               engaged my firm, Shore Chan DePumpo LLP, to license and
               enforce U.S. Patent No. 5,686,738.” See Docket No. 90 at ¶ 3.
               General statements are not sufficient to show competitive decision
               making. See Deutsche Bank, 605 F.3d at 1378. Accordingly the
               Court declines to order a patent prosecution bar.7

In light of this decision, the parties agreed, in the Global Status Report, to file a Global

Protective Order “for consideration and entry consistent with its prior ruling in civil action

number 12-cv-11935.” See, e.g., Case No. 1:12-cv-11935 at [Dkt. 142] (emphasis added).




4
  In re Deutsche Bank Trust Co. Americas, 605 F.3d 1373, 1378 (Fed. Cir. 2010) (“A party
seeking a protective order carries the burden of showing good cause for its issuance. The same is
true for a party seeking to include in a protective order a provision effecting a patent prosecution
bar…. We stated that ‘[w]hether an unacceptable opportunity for inadvertent disclosure exists ...
must be determined ... by the facts on a counsel-by-counsel basis....’ We went on to hold that the
counsel-by-counsel determination should turn on the extent to which counsel is involved in
‘competitive decision making’ with its client.”) (internal citations omitted).
5
  Id.
6
  In re Sibia Neurosciences, Inc., No. 525, 1997 WL 688174, at *3 (Fed. Cir. Oct. 22, 1997)
(unpublished).
7
  Trustees of Boston University v. Everlight Electronics Col, Ltd., et al., Consolidated Civil
Action No. 12-cv-11935-FDS, Dkt. 110 at 5 (D. Mass. July 19, 2013).



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       Nonetheless, Defendants believe this decision (and their agreement) is not binding and

once more seek to impose a prosecution bar and associated acquisition bar that is based on the

same previously-decided standard. But the facts have not changed. As Michael Shore previously

stated, no one at Shore Chan DePumpo LLP has “ever provided Boston University with any

assistance with invention disclosures, inventions under development, investigation of prior art

relating to new inventions.”8 Nor has anyone at Shore Chan DePumpo LLP provided Boston

University assistance in making any “strategic decision on the type and scope of patent

protection available for new inventions.”9 These are exactly the considerations the Federal

Circuit specifically highlighted in Deutsche Bank as being the hallmark of a competitive

decision-maker.10

       Defendants have expressed a belief that Michael Shore may be a competitive decision-

maker as a result of his involvement with wholly-unrelated third party, Third Dimension

Semiconductor. Third Dimension Semiconductor “does not conduct any operations except that it

owns and licenses patents exclusively in the field of power MOSFETs, a technology completely




8
  Trustees of Boston University v. Everlight Electronics Col, Ltd., et al., Consolidated Civil
Action No. 12-cv-11935-FDS, Dkt. 90 at ¶4 (D. Mass. July 19, 2013).
9
  Id.
10
   Deutsche Bank, 605 F.3d at 1380 (“Such involvement may include obtaining disclosure
materials for new inventions and inventions under development, investigating prior art relating to
those inventions, making strategic decisions on the type and scope of patent protection that might
be available or worth pursuing for such inventions, writing, reviewing, or approving new
applications or continuations-in-part of applications to cover those inventions, or strategically
amending or surrendering claim scope during prosecution. For these attorneys, competitive
decision making may be a regular part of their representation, and the opportunity to control the
content of patent applications and the direction and scope of protection sought in those
applications may be significant. The risk of inadvertent disclosure of competitive information
learned during litigation is therefore much greater for such attorneys.”)



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unrelated to GaN LEDs.”11 Mr. Shore is not an officer or director of Third Dimension

Semiconductor.12 Nor is Mr. Shore “involved in any decision-making of any kind at any level for

a company that makes, uses, sells, offers to sell, designs, manufactures, markets, imports or

seeks patents related to GaN LEDs of any type, kind or variety.”13 Bottom line, Mr. Shore is not

a competitive decision-maker.

       Despite this unrefuted evidence, Defendants now seek to add an acquisition bar to the

Protective Order that would broadly prohibit anyone acting as either outside counsel or an

outside consultant for Boston University in this case from “advis[ing] any clients or otherwise

participate in the acquisition of patents involving GaN light-emitting diodes or GaN laser diode

semiconductor devices.” Global Stipulated Protective Order at ¶ 16(b). Simply being hired by

Boston University to work on this case triggers this provision. Under the Defendants’ proposal,

Shore Chan DePumpo, LLP would not be allowed to advise any clients in the field of GaN LEDs

for two years after the conclusion of this case, including appeals which could last several

additional years.

       Any expert hired in this case by Boston University would likewise be unable to pursue

any sort of independent research in the broad field of LED semiconductors. This would

practically divest the Court and the parties of the ability to utilize expert testimony; what expert

will give up the ability to work in their chosen field to testify in one case? This is completely

unwarranted and contrary to the purpose of acquisition and prosecution bars. Even if such a

clause were warranted, it must be narrowly tied to a very real possibility that it would be



11
   Declaration of Michael W. Shore (“Shore Decl.”) at ¶ 5.
12
   Id.
13
   Id. at ¶3.



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“‘humanly impossible’ to control … inadvertent disclosure” of the protected information.14 That

is not the case; this clause is triggered regardless of whether an individual has even seen any

protected information. Moreover, the term “GaN semiconductors” is not well defined and could

be interpreted to include any semiconductor containing GaN, which would encompass all

manner of devices not relevant to the GaN light emitting diodes and laser diodes at issue in this

case.

         Therefore, the Court should again deny Defendants’ request to include an acquisition and

prosecution bar in the Protective Order.

B.       Defendants should not be permitted to deny Boston University its right to expert
         witnesses.

         Defendants attempt to eliminate Boston University’s ability to utilize any qualified expert

witnesses:

Plaintiff’s Proposal                         Defendants’ Proposal
“Outside Consultant” shall refer to a person “Outside Consultant” shall refer to a person

with specialized knowledge or experience in a with specialized knowledge or experience in a

matter pertinent to the Litigation, who has been matter pertinent to the Litigation, who has been

retained by a Party or Counsel of Record to retained by a Party or Counsel of Record to

serve as an expert witness or as a consultant in serve as an expert witness or as a consultant in

this Litigation.                                   this Litigation, who currently or within the

                                                   last three years, is not an employee of or

                                                   consultant for a Party or of a competitor of

                                                   an opposing Party.



14
     Deutsche Bank, 605 F.3d at 1378.



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Global Stipulated Protective Order ¶ 11. In contrast to Boston University’s definition,

Defendants remove from available outside consultants or expert witnesses anyone who currently

or within the last three years: (1) consulted with or was employed by any of Defendants; (2)

consulted or was employed by any competitor of Defendants; and (3) consulted or was employed

by Boston University. This restriction is unilateral; Defendants are still permitted to hire

consulted hired by co-defendants—their competitors in the marketplace—because those co-

defendants are not “an opposing party.”

       With respect to Defendants’ current or former employees and consultants, Defendants

have the right to contract with those individuals however they wish. If Defendants believe their

current or former employees have access to confidential information, those employees may be

bound by common law or contractual obligations to keep such information confidential. But

Defendants should not be permitted to exclude former employees from employment by Boston

University if Defendants neglected to obtain such protection or the law does not otherwise

provide such protection. Defendants simply want to exclude from the reach of potential experts

any individual who provided any consulting or other work for each of the massive Defendants.

Apple, Samsung, Seoul Semiconductor, and Epistar, for example, employ and have employed

tens of thousands of individuals, have sponsored research at multiple universities (including

Boston University) and have hired consultants by the thousands. Defendants should not be

permitted to exclude those individuals from the group of potential experts. There is a “public

interest in permitting experts to ‘pursue their trade’ and parties ‘to select their own experts’” that

Defendants should not be permitted to avoid. Palmar Medical Techs., Inc. v. Tria Beauty, Inc.,

No. 09-11081, 2012 WL 517532, at *2 (D. Mass. Feb. 15, 2012).



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       When the former and/or current employees of the Defendants’ competitors are added to

the prohibited persons list, the entire marketplace of potential experts is foreclosed. The market

for LEDs is substantially composed of Defendants and their competitors – after excluding all of

the employees and consultants of the entire industry, no one is left to serve as an expert. If

Defendants have a specific concern regarding a designated expert, they should raise it

specifically in accord with appropriate motion practice.

       Finally, Defendants’ definition excludes current employees of the parties from serving as

consultants for their own employer. The inventor in this case, Dr. Theodore Moustakas, is an

expert in this field and Boston University may so designate him. If Defendants have an

objection to Dr. Moustakas’s designation, they should be required to accordingly move to

exclude him.

       The purpose of this definition is simply to create a tactical advantage. Defendants’

limitation does not apply between Defendants, but only to the “opposing party” – Boston

University. If Defendants’ concerns about protecting confidential information were genuine,

they would restrict access between themselves, their real competitors in the LED marketplace.

       The protective order already provides the solution to Defendants’ perceived problems.

The parties agree that either party may object to disclosure to outside consultants upon a showing

of “good cause.” Global Stipulated Protective Order ¶ 20. “Good cause” means a factually

supported belief that either “(1) the Person had a prior confidential relationship with an adverse

Party [or] (2) the Person is a competitive decision-maker.” Id. If any of Defendants’ former or

current employees had or have such a relationship, Defendants may properly object upon Boston

University’s notice that it intends to provide such confidential information in accord with the




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protective order. Any of Defendants’ concerns are addressed by this provision without impeding

Boston University’s right to the Outside Counsel of its choice.

       Defendants seek to prevent or delay Boston University from using the Outside

Consultants of its choice simply by expressing “another objectively reasonable concern.” What

exactly is an “objectively reasonable concern?” The parties have agreed to limit disclosure

regarding individuals with a prior confidential relationship (which should be defined by contract)

or individuals whom are competitive decision-makers within their organization. This is

supported by law.15 Under their undefined and unsupported standard of simply stating a

“concern”, Defendants’ reserve the right to file motion after motion preventing Boston

University from providing highly relevant information to the outside consultant of its choice on a

timely basis.

C.     Defendants cannot further delay discovery by stating that production of source code
       is not governed by the proposed Protective Order.

       Defendants seek to further delay both discovery and resolution of the case by adding a

provision to the Protective Order that states:

                This Order does not govern the production of source code. If
                source code is to be produced in this Litigation, the Parties will
                negotiate in good faith provisions concerning the production of
                source code and will submit to the Court an Addendum to the
                Protective Order concerning the production of source code. Source
                code will not be produced in this Litigation until the Proposed
                Addendum to the Protective Order concerning the production of
                source code is entered by the Court. Global Stipulated Protective
                Order ¶ 30(e).


15
  Palomar, 2012 WL 517532, at *2 (“To prevail on their motion to disqualify, [the moving
party] must prove both that (1) it was objectively reasonable for them to believe that [the expert]
had a confidential relationship with [the moving party]; and (2) that [the moving party] disclosed
confidential information to [the expert] that is relevant to the current litigation.”); see also
Lacroix v. BIC Corp., 339 F. Supp. 2d 198, 200-01 (D. Mass. 2004).



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       This is not a software case. This case deals with the manufacture, sale, offers for sale,

and import of LEDs. Boston University does not believe that there is any need for the

production of any “source code” in this case. To date, Defendants have not stated that they

anticipate the production of any “source code,” but have not defined “source code.” It has

become common in semiconductor related patent cases for defendants to resist discovery by

attempting to classify various documents relating to the design and manufacture of

semiconductors as “source code.” These manufacturing details, such as the die set used to

manufacture various related parts (and thus determine which products infringe or do not infringe

in the exact same way) and the temperatures at which certain manufacturing steps are conducted

(which determines infringement or non-infringement), are highly relevant and should be

disclosed. If Defendants wish to designate that material as outside-counsel only, they are entitled

to do so. But Boston University fears that if this provision is included in the Protective Order,

Defendants will continue to resist production of technical documents by arguing that

manufacturing details are “source code” and cannot be produced until a Source Code Addendum

has been entered by this Court. For three months, Boston University has attempted to obtain a

protective order so that it can begin receiving documents from Defendants. Defendants have

resisted providing a protective order for that entire time, and have never attempted to provide a

provision that explains how “source code” should be treated. And Defendants have refused to

produce any information that is not publicly available under the guise that it all must be covered

by a protective order. Thus, the Court should not include a “source code” provision in the

Protective Order. The outside-counsel only and confidential designations are enough.

D.     The parties should be permitted to utilize mock jurors.

       The parties seemingly agree that mock jurors are permitted. The parties agree that mock

jurors should not be “officers, directors or employees of any of the Parties or their affiliates or
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related to any of those officers, directors or employees.” Global Stipulated Protective Order ¶

14(i). The parties agree that mock jurors must agree to be bound by the protective order. Id.

But Defendants want to go further, and require that no mock jurors can “receive” any Designated

Material. Given the historical over-designation of materials as confidential in patent disputes

(and Epistar’s refusal to provide any non-publicly-available discovery in reliance upon the lack

of a protective order), the prevention of any mock juror from “receiv[ing]” any Designated

Material would render a mock trial useless. Any such jurors must agree to be bound by the

protective order. If they fail to do so, they will be in contempt of court. That should be enough.

                                        II. CONCLUSION

       Boston University’s outside counsel are not competitive decision makers. This is the law

of the case and there is no justification for either a prosecution bar or acquisition bar in this case.

No justification of Defendants’ attempts to use a protective order to rewrite employment and

consulting agreements to add a covenant not to compete exists, and if allowed would effectively

exclude the entire universe of potential experts from Boston University’s employ.

       Defendants attempt to further delay this case by seeking to delay the production of

technical documents unilaterally defined as “source code” until a further addendum to the

Protective Order is entered should be addressed in this Protective Order, not delayed for rounds

of motion practice. Accordingly, Boston University asks the Court to adopt its proposed

Protective Order as the only fair, practical and balanced one offered to the Court.




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Dated: September 6, 2013                      Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned certifies that the forgoing document, which was filed through the ECF
system, will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing.


                                                    /s/ Michael W. Shore
                                                    Michael W. Shore




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